     Case: 4:17-cv-02837-JCH Doc. #: 8-1 Filed: 04/05/18 Page: 1 of 2 PageID #: 77



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI

                                      )
ANGELA GATERMAN and                   )
ROBERT A. PAULI, JR.,                 )        No. 17-CV-2837-JCH
                                      )
         Plaintiffs,                  )
                                      )
v.                                    )
                                      )
KAVULICH & ASSOCIATES,                )
P.C. and GARY KAVULICH,               )
                                      )
         Defendants.                  )
                                      )
                                      )
                                      )

                       DECLARATION OF JONATHAN R. MILLER

         Jonathan R. Miller, an attorney at law duly admitted and licensed to practice

before the United States District Court for the Eastern District of Missouri, declares

the following to be true under penalties of perjury:

         1. Defendant KAVULICH & ASSOCIATES, P.C. is not an infant, is not in

the military, and is not incompetent.

         2. Defendant KAVULICH & ASSOCIATES, P.C. was properly served with

copies of the Summons and Complaint on March 6, 2018 (ECF #6).

         3. Defendant KAVULICH & ASSOCIATES, P.C. has failed to plead or

otherwise defend the action.

         4. Defendant GARY KAVULICH is not an infant, is not in the military, and

is not incompetent.




                                           1
 Case: 4:17-cv-02837-JCH Doc. #: 8-1 Filed: 04/05/18 Page: 2 of 2 PageID #: 78



      5. Defendant GARY KAVULICH was properly served with copies of the

Summons and Complaint on February 28, 2018 (ECF #4).

      6. Defendant GARY KAVULICH has failed to plead or otherwise defend the

action.

      WHEREFORE, Plaintiffs request that the clerk enter default against

KAVULICH & ASSOCIATES, P.C. and GARY KAVULICH in the above-referenced

action.

Dated: Winston-Salem, NC
       April 5, 2018

                                           /s/ Jonathan R. Miller
                                           Jonathan R. Miller




                                       2
